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                                   UNITED STATES DISTRICT COURT

                                          DISTRICT OF NEVADA

                                                      ***

SALESTRAQ AMERICA, LLC,                                 )
                                                        )
                            Plaintiff,                  )
                                                        )            2:08-cv-01368-LRH-LRL
v.                                                      )
                                                        )            MINUTE ORDER
JOSEPH A. ZYSKOWSKI, et al.,                            )
                                                        )
                            Defendants.                 )
                                                        ) Dated:      March 21, 2011


PRESENT:          THE HONORABLE LAWRENCE R. LEAVITT, United States Magistrate Judge


JUDICIAL ASSISTANT: Carol DePino               RECORDER:                          None

COUNSEL FOR PLAINTIFF(S):                                    None Appearing

COUNSEL FOR DEFENDANT(S):                                     None Appearing

       Before the court is defendant’s Motion for Setting Time for Plaintiff’s Retention of Counsel (#111). For
good cause shown,

       IT IS ORDERED that the Motion (#111) is granted.

        IT IS FURTHER ORDERED that plaintiff shall have until April 11, 2011 to retain new counsel. New
counsel shall file a notice of appearance not later than April 11, 2011. Failure to retain new counsel may subject
plaintiff to dismissal of its claims and a default on defendant’s counterclaims.

       The Clerk of Court shall mail a copy of this order to plaintiff’s representative at:

                                                Larry Murphy
                                          7332 Quail Heights Avenue
                                          Las Vegas, NV 89131-1783




                                             LAWRENCE R. LEAVITT
                                             UNITED STATES MAGISTRATE JUDGE
